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                  Exhibit A
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                                       HOUSE BILL No. 2106

           AN ACT concerning campaign finance; relating to support for or opposition to proposed
              amendments to the Kansas constitution; banning contributions from foreign
              nationals; amending K.S.A. 25-4180 and repealing the existing section.

           Be it enacted by the Legislature of the State of Kansas:
               Section 1. K.S.A. 25-4180 is hereby amended to read as follows:
           25-4180. (a) Every person who engages in any activity promoting or
           opposing the adoption or repeal of any provision of the constitution of
           the state of Kansas constitution and who accepts moneys or property
           for the purpose of engaging in such activity shall make an annual report
           to the secretary of state of individual contributions or contributions in
           kind in an aggregate amount or value in excess of $50 received during
           the preceding calendar year for such purposes. The report shall show
           the name and address of each contributor for the activity and the
           amount or value of the individual contribution made, together with a
           total value of all contributions received, and also shall account for
           expenditures in an aggregate amount or value in excess of $50 from
           such contributions, by showing the amount or value expended to each
           payee and the purpose of each such expenditure, together with a total
           value of all expenditures made. Each person who submits a report shall
           certify that:
               (1) Such person has not knowingly accepted contributions or
           expenditures either directly or indirectly from a foreign national; and
               (2) each donor named in such report is not a foreign national and
           has not knowingly accepted contributions or expenditures either
           directly or indirectly from any foreign national that in the aggregate
           exceed $100,000 within the four-year period immediately preceding the
           date of such donor's contribution or expenditure. The annual report
           shall be filed on or before February 15 of each year for the preceding
           calendar year.
               (b) Each person who accepts contributions or expenditures as
           described in subsection (a) shall require each donor to certify that such
           donor is not a foreign national and has not knowingly accepted
           contributions or expenditures either directly or indirectly from any
           foreign national that in the aggregate exceed $100,000 within the four-
           year period immediately preceding the date of such donor's
           contribution or expenditure.
               (c) Each person making an independent expenditure for any
           activity promoting or opposing the adoption or repeal of any provision
           of the constitution of the state of Kansas shall, within 48 hours of
           making such expenditure, certify to the commission that such person
           has not knowingly accepted any moneys either directly or indirectly
           from any foreign national that in the aggregate exceed $100,000 within
           the four-year period immediately preceding the date of such person's
           expenditure and shall not accept any such moneys during the
           remainder of the calendar year in which the question of amending the
           constitution of the state of Kansas is on the ballot.
               (d) (1) No person shall accept, directly or indirectly, any
           contribution or expenditure from a foreign national made for any
           activity promoting or opposing the adoption or repeal of any provision
           of the constitution of the state of Kansas.
               (2) The attorney general may prosecute any person who violates
           this subsection. Any person who believes the provisions of this
           subsection have been violated may file a complaint with the attorney
           general.
               (3) In any civil action brought by the commission or the attorney
           general against a person who violates this subsection, the court may
           award injunctive relief sufficient to prevent any subsequent violations
           of this subsection by such person and statutory damages of not to
           exceed an amount that is twice the amount of the prohibited
           contribution or expenditure.
               (e) As used in this section, "foreign national" means:
               (1) An individual who is not a citizen or lawful permanent resident
           of the United States;
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               (2) a government or subdivision of a foreign country or
           municipality thereof;
               (3) a foreign political party;
               (4) any entity, such as a partnership, association, corporation,
           organization or other combination of persons, that is organized under
           the laws of, or has its principal place of business in, a foreign country;
           or
               (5) any United States entity, such as a partnership, association,
           corporation or organization, that is wholly or majority-owned by any
           foreign national, unless: (1) Any contribution or expenditure that such
           entity makes is derived entirely from funds generated by such United
           States entity's United States operations; and (2) all decisions
           concerning the contribution or expenditure are made by individuals
           who are United States citizens or permanent residents, except for
           setting overall budget amounts.
               (f) In addition to the annual report, a person engaging in an
           activity promoting the adoption or repeal of a provision of the Kansas
           constitution who accepts any contributed moneys for such activity shall
           make a preliminary report to the secretary of state 15 days prior to each
           election at which a proposed constitutional amendment is submitted.
           Such report shall show the name and address of each individual
           contributor, together with the amount contributed or contributed in kind
           in an aggregate amount or value in excess of $50, and the expenditures
           in an aggregate amount or value in excess of $50 from such
           contributions, by showing the amount paid to each payee, and the
           purpose of the expenditure. A supplemental report in the same format
           as the preliminary report shall be filed with the secretary of state within
           15 days after any election on a constitutional proposition where
           contributed funds are received and expended in opposing or promoting
           such proposition.
               (g) Any person who engages in any activity promoting or
           opposing the adoption or repeal of any provision of the Kansas
           constitution shall be considered engaged in such activity upon the date
           that the concurrent resolution passes the Kansas house of
           representatives and the senate in its final form. Upon such date, if the
           person has funds in the constitutional amendment campaign treasury,
           such person shall be required to report such funds as provided by this
           section.
               (b)(h) (1) The commission shall send a notice by registered or
           certified mail to any person failing to file any report required by
           subsection (a) within the time period prescribed therefor. The notice
           shall state that the required report has not been filed with the office of
           the secretary of state. The notice also shall state that such person shall
           have 15 days from the date that such notice is deposited in the mail to
           comply with the reporting requirements before a civil penalty shall be
           imposed for each day that the required documents remain unfiled. If
           such person fails to comply within the prescribed period, such person
           shall pay to the state a civil penalty of $10 per day for each day that
           such report remains unfiled, except that no such civil penalty shall
           exceed $300. The commission may waive, for good cause, payment of
           any civil penalty imposed by this section.
               (2) Civil penalties provided for by this section shall be remitted to
           the state treasurer in accordance with the provisions of K.S.A. 75-4215,
           and amendments thereto. Upon receipt of each such remittance, the
           state treasurer shall deposit the entire amount in the state treasury to the
           credit of the governmental ethics commission fee fund.
               (3) If a person fails to pay a civil penalty provided for by this
           section, it shall be the duty of the commission to bring an action to
           recover such civil penalty in the district court of the county in which
           such person resides.
               (c)(i) The intentional failure to file any report required by
           subsection (a) is a class A misdemeanor.
               (d)(j) This section shall be a part of and supplemental to the
           campaign finance act.
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              Sec. 2. K.S.A. 25-4180 is hereby repealed.
              Sec. 3. This act shall take effect and be in force from and after its
           publication in the statute book.

           I hereby certify that the above BILL originated in the HOUSE, and passed
           that body




                                                                                                Speaker of the House.



                                                                                           Chief Clerk of the House.

           Passed the SENATE               ______________________________________________________________________________




                                                                                              President of the Senate.



                                                                                              Secretary of the Senate.

           APPROVED   __________________________________________________________________________________________________




                                                                                                                  Governor.
